 

aq

|

w&

Oo oOo WH mH FH

j
td

13
14
15
16
17
18
19
20
21

23
24
25
26
27
28

/208

ase. B-o ASS cWb9070 PA a Document 57 PSS gee 1of6 Page IDFA: 43

 

 

 

 

 

 

 

By |

RICHARD C. DAVIDOFF, State Bar No. 83272 S ender
SUSAN K, DAVIDOFF, State Bar No. 90934 CLERK, US. DISTAICT COURT {
DAVIDOFF & DAVIDOFF f
433 North Camden Drive (3
Suite 888 > SEP 2,0 2006 i
Beverly Hills, CA 90210-4412 ‘i |
Telephone: (310) 274-2883 oy CENTRAL DI F CALIFORNIA
Telecopier: (310) 274-2761 BY DEPUTY
Attorneys for Plaintiff
Paul Jardin of USA, Inc.
dba 3 Day Suit Broker

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

T COURT
OF CALIF.
HWOCLES

| WESTERN DIVISION ey
B= | t
PAUL J JARDIN OF USA, INC. dba 3 CASE NO. CV 04-9925 PA (RNBx)
DA: suit BROKER, a California

STRE
aT.

26 PH 3:30

 

c ration,
Epo! : STIPULATION FOR ORDER
a DISMISSING ACTION WITH
Plaintife, PREJUDICE AND [PROPZ5SED}. ORDER
- THEREON

 

HOLLYWOOD SUIT OUTLET INC., a
California corporation, HOVSEP
KOUZOUYAN, an individual and
DOES 1 through 10, inclusive, Trial Date: November 29, 2005

Defendants.

 

DOCKETED ON CM
orr-3 2005

 

 

 

 

}
)
)
)
)
)
}
}
)
)
}
Case Filed: December 6, 2005
)
)
}
)
)
)
)
)
)
}
)
)

 

 

BY 00!

 

 

ORIGINAL

STIPULATION FOR ORDER DISMISSING ACTION WITH PREJUDICE AND ORDER THEREON

 

 

 

 
 

CED OF Tha Fae Document 57 FRAYTSSTERYS or Page ID RARB .24

me Ww BO be

a mm wm

10
11
12
13
14
15
16
17
18
19
20
2h
22
23
24
25

26
27
28

 

WHEREAS, the parties have entered in a settlement agreement

which, among its terms, provides for dismissal of this action with
C

prejudice.

IT 1S HEREBY STIPULATED by and between plaintiff 3 Day Suit
Broker, by and through its attorneys, Davidoff & Davidoff, by
Richard C. Davidoff, and defendants Hollywood Suit Outlet, Inc. and
Hovsep Kouzouyan, by and through their attorneys, Tharpe & Howell,

by Gerald M. Siegel, that this entire action shall be dismissed with

 

 

prejudice.

Dated: September 26, 2005 DAVIDOFF & DAVIDOF
By AE
Richard C. Da&tisdoff
Attorney for Plaintiff
Paul Jardin of USA, Inc. dba

3 Day Suit Broker

Dated: September 26, 2005 THARPR & HOWELL
By
By: Gerald M. Siegel
Attorney for Defendants
Hollywood Suit Outlet, Inc.
and Hovsep Kouzouyan

//}

Aff

‘ff

Aff

Ai}

2

 

 

 

STIPULATION FOR ORDER DISMISSING ACTION WITH PREJUDICE AND ORDER THEREON

 
 

29 CA S89-04 499 28" PAS Document 57 FRAYERRTEAS . 30f6 Page IDRASE 25

1 i /a1
89/26/2885 14:20 slszaaemed THARPE 8 PAGE 1

 

 

ACTION WITH PREJUDICE, dos ~ —Faged]

ferry Slagel- STIPULATION TO DrSMiSsaL Ce

    
  

 

 

ii

r oR ee Te
t

Lomalariené

prajudice.
IT IS KEREBY STIPULATED by and between plaintiff 3 Day Suit
Broker, by ana through ats attorneys, Davideff & Davideff, by Richard

c. Davidoff, and defendants Hollywood Suit Outlet, Inc. and Hovsep

M. Saegel, that this entire action shall be dismissed with prejudice.

i

2

3

4

5 |ouzouyan, by and through their attorneys, Tharpe & Howell, by Gerald|
§

7

g Dated: Septetiber 26, 2005 DAVIDOFF & DAVIBDOF

$

 

 

 

10 By
Richard €. Davidoff
11 Attorney for Plaintiff
Paul Jardin cf USA, Inc. dba
12 3 Day Suit Broker
13
14 Dated: Se er 26, THARPE & HOWELL
15
16 BY Ce,
By: Gerald M." Slepel
i? Attorney for Defendants
18 Hollywood Suit Outlet, Inc.
and Havsep Kouzouyan
18
20
fit
a. is ,
22 Vis
23
///
24
if?
2s ORDER
26 Having xyevlewed the foregoing Stipulation te Order Dismissing
27
Action With Prejudice and good causé having bean shown,
28
i
STIPULATION FOR ORDER DISMISSING ACTION WITH PREJUDICE AND ORDER THEREQN
2

 

 

 

 

 
 

a9/26/ .
Cae Roae Sooo HR gle Document 57 FilPAVERAERYAS er Page ID #PAGE .26

1 ORDER cs
2 Having reviewed the foregoing Stipulation to Order Dismissing

3 Action With Prejudice and good cause having been shown, im

eh

IT IS HEREBY ORDERED that this action is dismissed with

prejudice.

—~I GS li

 

pareD: Cf po loo

3 f
10

co

UNITED PTATES DISTRICT COURT JUDGE

11
12
13
14
15
16
17
18
19

 

20
21

23
24

 

25

27
28

3
STIPULATION FOR ORDER DISMISSING ACTION WITH PREJUDICE AND ORDER THEREON

 

 
 

69/26/2885 14:58 310274276:

® ds NM F

na wm

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
29
26
27
28

Case, 2.04 -v09025-F gl Document 57 FREYTOSPEHAYS or Page ID PAGE 987

PROOF OF SERVICE

STATE OF CALIFORNIA, COUNTY OF LOS ANGELES 7

I am employed in the County of Los Angeles, State of uw
California. I am over the age of 18 and not a party to the within
action; my business address is 433 North Camden Drive, Suite 888,
Beverly Hills, California 90210,

On September 26, 2005, I served the foregoing document
described as follows: STIPULATION TO ORDER DISMISSING ACTION WITH
PREJUYDICE AND [PROPOSED] ORDER THEREON on all interested parties,

through their respective attorneys of record in this action, by

 

 

|| Placing a true copy thereof enclosed in a sealed envelope addressed

as follows:

Gerald M. Siegel, Esq.

Stacey A. Miller, Esq.

Tharpe & Howell

15250 Ventura Blvd., Ninth Floor
Sherman Oaks, CA 91403-3221
FAX NO. (818) 205-9944

Richard M. Foster, Esq.

Law Offices of Richard M. Foster
5429 Cahuenga Blvd,

North Hollywood, CA 91601

FAX NO. (818) 508-1529

_.. (B¥ MAIL) I caused such envelope to be deposited in the mail
at Los Angeles, California. The envelope was mailed with postage

thereon fully prepaid. I am readily familiar with the firm’s

 

practice of collection and processing correspondence for mailing.
It is deposited with the United States Postal Service on the same
day in the ordinary course of business. I am aware that on motion

of party served, service is presumed invalid if postal cancellation

 

4
STIPULATION FOR ORDER DISMISSING ACTION WITH PREJUDICE AND ORDER THEREON

 

 
@9/26/2@05 14:58 3102742761
Case,2:04-6V-09025-F Ag Document 57 Filed USFS 7s .7r Page ID Fae 28

+

 

oO Ww m& Ww N FF

11
12
13
14
15
16
17
18
13
20
21
22
23
24
25

26
27

28

date or postage meter date is more than one day after date of Lot
deposit for mailing in affidavit.) .

__ (BY PERSONAL SERVICE) I caused such envelope(s) to be
delivered by hand to the offices of the addresses(s).

XX (BY FACSIMILIE) I caused such document(s) to be
telephonically transmitted to the offices of the addressee(s).

I declare that I am employed in the office of a member of the
bar of this court at whose dixection the service was made.

Executed this 26th Day of September 2005 at Los Angeles,

EILEEN M. PHILLIPS

California.

5

 

 

 

STIPULATION FOR ORDER DISMISSING ACTION WITH PRECUDICE AND ORDER THEREON

 
